





















Opinion issued April 12, 2012.

&nbsp;


 
 
  
  
  
  
  
  
  
  
  
  
  
  
 
 
 

 


&nbsp;

&nbsp;

&nbsp;

&nbsp;

In The

Court of
Appeals

For The

First District
of Texas

————————————

NO. 01-11-00897-CR

———————————

LUIS MARIO
PENA, Appellant

V.

THE STATE OF TEXAS, Appellee



&nbsp;



&nbsp;

On Appeal from the 184th District Court 

Harris County, Texas



Trial Court Cause No. 1291032



&nbsp;

MEMORANDUM
OPINION

Appellant,
Luis Mario Pena, has filed a motion to dismiss the appeal.&nbsp;&nbsp; The motion complies with Texas Rule of
Appellate Procedure 42.2(a).&nbsp; See Tex.
R. App. P. 42.2(a). &nbsp;We have not
issued a decision in the appeal.

Accordingly,
we dismiss the appeal. &nbsp;See Tex.
R. App. P. 43.2(f). &nbsp;We dismiss
any pending motions as moot.

We direct the Clerk to issue the mandate within 10 days of
the date of this opinion.&nbsp; See Tex.
R. App. P. 18.1.

PER CURIAM

Panel consists of Chief Justice Radack and Justices Higley
and Brown.

Do not publish.&nbsp;
&nbsp;Tex. R. App. P. 47.2(b).

&nbsp;





